Certificate of Service

I here by certify that on the 8” day of July, 2005, a true and exact copy of these:
REQUEST FOR ENTRY OF DEFAULT OFOR DEFENDANT CAMPBELL
COUNTY, ENTRY OF DEFAULT FOR DEFENDANT CAMPBELL COUNTY,
AFFIDAVITE IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT FOR
DEFEANDANT CAMPBELL COUNTY,

REQUEST FOR ENTRY OF DEFAULT FOR DEFENDANT BILLY MARLOW,
ENTRY OF DEFAULT FOR DEFENDANT BILLY MARLOW, AFFIDAVITE IN
SUPPORT OF REQUEST FOR ENTRY OF DEFAULT FOR DEFEANDANT BILLY
MARLOW

REQUEST FOR ENTRY OF DEFAULT OFOR DEFENDANT DARREL MONGAR,
ENTRY OF DEFAULT FOR DEFENDANT DARREL MONGAR, AFFIDAVITE IN
SUPPORT OF REQUEST FOR ENTRY OF DEFAULT FOR DEFEANDANT
DARREL MONGAR

REQUEST FOR ENTRY OF DEFAULT OFOR DEFENDANT BILLY ROSE, ENTRY
OF DEFAULT FOR DEFENDANT BILLY ROSE, AFFIDAVITE IN SUPPORT OF
REQUEST FOR ENTRY OF DEFAULT FOR DEFEANDANT BILLY ROSE

in Civil Action No: 3:04-CV-344 has been forwarded by first class mail, postage prepaid
to the party indicated.

Clerk of Court

United States District Court
Knoxville Division

800 Market Street, Suite 130

Knoxville TN, 37902 A hoor
fish. Y 4 é

Plaintiff

Rustin G. Jackson Y
108 Chapman Lane
Jacksboro TN, 37757
423-494-7163

Case 3:04-cv-00344-TAV-CCS Document 48-3 Filed 07/11/05 Page1of1
PagelD #: <pagelD>
